                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                               3:90CR85-5

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
DARYL PERNELL CAMPS,                             )
                                                 )
                 Defendant.                      )
_______________________________                  )

       THIS MATTER is before the court on defendant’s Reply (#89)to the government’s

Response (#85) to defendant’s motions to reduce sentence in regards to a crack cocaine

offense. (See #66 & #67). The government filed its response on August 7, 2012, and the

court entered its Order (#87) denying such motions on August 16, 2012. Defendant filed his

reply on August 20, 2012, which the court will deem timely nunc pro tunc.

       Although the Reply was filed after the Order was entered, the court has fully

considered defendant’s arguments in his Reply and in doing so has reconsidered the Order

in light of the arguments presented in the Reply. In “Issue #1,” defendant challenges the

government’s contention that under Amendment 750, petitioner’s advisory guidelines range

would not change because the drug amount exceeds 8.4 kilograms. Defendant does not,

however, provide the court with any legally cognizable reason why such conclusion is

incorrect or why Amendment 750 would result in a sentence reduction in his case. See

Reply, at 1-3. Indeed, the relevant revised guideline calculations based on Amendment 750

provide for an advisory guideline range for imprisonment of life, which is the same sentence

defendant originally received. Further, as the court decided the motions based on the drug

quantity under Amendment 750, and not based on defendant’s discipline record, the second



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issue defendant raises is not relevant.

       Having carefully considered the Reply and reconsidered the earlier Order, the court

enters the following Order.



                                          ORDER

       IT IS, THEREFORE, ORDERED that having reconsidered the court’s Order (#87)

in light of defendant’s Reply (#89), the court reaffirms the earlier Order (#87).



                                              Signed: August 27, 2012




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